
Appeal No. 30850 from Judgment dated December 2, 1987, James D. Bell, Ruling *1392Judge, Hinds County Circuit Court, First Judicial District.
Charles R. McRae, McRae &amp; Ellis, Pasca-goula, Cathy Jacobs, Denton &amp; Tyler, Biloxi, for appellant.
John E. Hughes, III, Kenna L. Mansfield Jr., Wells Wells Marble &amp; Hurst, Whitman B. Johnson, III, Steen Reynolds Dalehite &amp; Currie, Jackson, for appellee.
Before ROY NOBLE LEE, C.J., and SULLIVAN and PITTMAN, JJ.
Affirmed.
